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                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BlockFi Inc., et al.,                                          Case No. 22-19361 (MBK)

                            Debtors.1                           Jointly Administered


              SUPPLEMENTAL DECLARATION OF BENJAMIN J. STEELE IN
            SUPPORT OF DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
                AUTHORIZING THE EMPLOYMENT AND RETENTION OF
                 KROLL RESTRUCTURING ADMINISTRATION LLC AS
          ADMINISTRATIVE ADVISOR NUNC PRO TUNC TO THE PETITION DATE

                  I, Benjamin J. Steele, under penalty of perjury, declare as follows:




     1
      The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification number,
     as applicable, are as follows: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017);
     BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi
     Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location
     of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.


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                  1.       I am a Managing Director of Kroll Restructuring Administration LLC

 (“Kroll”),2 a chapter 11 administrative services firm whose headquarters are located at 55 East

 52nd Street, 17th Floor, New York, NY 10055. Except as otherwise noted, I have personal

 knowledge of the matters set forth herein, and if called and sworn as a witness, I could and would

 testify competently thereto.

                  2.       On December 22, 2022, I submitted a declaration (the “Initial Steele

 Declaration”) in connection with the Debtors’ Application for Entry of an Order Authorizing the

 Employment and Retention of Kroll Restructuring Administration LLC as Administrative Advisor

 Nunc Pro Tunc to the Petition Date [Docket No. 136-2].3 I hereby incorporate by reference, in its

 entirety, the Initial Steele Declaration as if fully set forth herein.

                  3.       In the Initial Steele Declaration, Kroll disclosed that Kroll and its personnel

 have and will continue to have relationships personally or in the ordinary course of business with

 certain vendors, professionals, financial institutions, and other parties-in-interest that may be

 involved in the Debtors’ chapter 11 cases. I hereby supplement the Initial Steele Declaration to

 disclose the client and vendor connections set forth in Schedule 1 hereto. Each of the clients

 identified in Schedule 1 represents less than 1% of Kroll’s revenue over the past two years.

                  4.       In the Initial Steele Declaration, Kroll disclosed that it had been made aware

 that three of its employees had opened accounts with the Debtors prior to the Petition Date. As

 previously stated, one of those employees did not fund their accounts and is not owed any amounts

 from the Debtors as of the Petition Date. Of the two employees who have funded their accounts,




 2
     Effective March 29, 2022, Prime Clerk LLC changed its name to Kroll Restructuring Administration LLC.
     There has not been any change in the company’s leadership, ownership, or organizational structure.
 3
     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Initial Steele
     Declaration.


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 one has approximately $1,200 in their account and does not work on client cases. The other

 employee has approximately $1,000 in their account and does perform work on this matter. As

 previously noted, these employees have waived their claims in these chapter 11 cases.

                5.       As stated in the Initial Steele Declaration, Kroll is an indirect subsidiary of

 Kroll, LLC (“Kroll Parent”). Kroll Parent is the world’s premier provider of services and digital

 products related to governance, risk and transparency. Within the Kroll Parent corporate structure,

 Kroll operates independently from Kroll Parent. As such, any relationships that Kroll Parent and

 its affiliates maintain do not create an interest of Kroll’s that is materially adverse to the Debtors’

 estates or any class of creditors or security holders. To clarify, Kroll Parent is not currently

 identified on the Potential Parties in Interest list, but Kroll makes this disclosure out of an

 abundance of caution.

                6.       Kroll will supplement its disclosure to the Court if any facts or

 circumstances are discovered that would require such additional disclosure.

                7.       To the best of my knowledge, Kroll continues to be a “disinterested person”

 within the meaning of section 101(14) of the Bankruptcy Code and does not hold or represent an

 interest materially adverse to the Debtors’ estates.

                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my information, knowledge and belief.

  Executed on January 24, 2023


                                          /s/ Benjamin J. Steele
                                          Benjamin J. Steele
                                          Managing Director
                                          Kroll Restructuring Administration LLC
                                          55 East 52nd Street, 17th Floor
                                          New York, NY 10055



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                                            Schedule 1


   Party in Interest               Connection to Debtor        Connection to Kroll
                                                               Client – Kroll serves as
   Celsius Network Ltd             Exchange / Marketplace      Information      Agent    in
                                                               Celsius’ chapter 11 cases
                                                               Client – Kroll serves as
                                   Equity              Holder; Claims and Noticing Agent
   FTX Trading Ltd.
                                   Exchange / Marketplace      and Administrative Advisor
                                                               in FTX’s chapter 11 cases
   Amazon Web Services             Vendor                      Vendor
   DHL                             Vendor                      Vendor
   Donnelley Financial
                                   Vendor                      Vendor
   Solutions
   Evolve Bank & Trust             Vendor                      Vendor
   Fedex                           Vendor                      Vendor
   Iron Mountain                   Vendor                      Vendor
   Microsoft                       Vendor                      Vendor
   Monday                          Vendor                      Vendor
   Thomson Reuters - West          Vendor                      Vendor
   UPS Store                       Vendor                      Vendor
   USPS                            Vendor                      Vendor




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